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Rev. /201



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


MALLINCKRODT ARD LLC


                     Plaintiff
                                                       Civil No.                 19-1471       (TFH)
               vs.

SEEMA VERMA, et al                                   Category D



                         Defendant




                                     REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on     7/22/2019      from Judge Amy Berman Jackson

to Judge Thomas F. Hogan                             by direction of the Calendar Committee.



                                   (Case Transferred by Consent)


                                                                JUDGE ELLEN S. HUVELLE
                                                                Chair, Calendar and Case
                                                                Management Committee


cc:           Judge Amy Berman Jackson                             & Courtroom Deputy
              Judge Thomas F. Hogan                        & Courtroom Deputy
            Liaison, Calendar and Case Management Committee
